                                                                          Case 3:22-cv-01056-AJB-AGS Document 68 Filed 09/16/22 PageID.1003 Page 1 of 4




                                                                            1 JOSEPH R. LAMAGNA (State Bar No. 246850)
                                                                              JORDAN KEARNEY (State Bar No. 305483)
                                                                            2 HOOPER, LUNDY & BOOKMAN, P.C.
                                                                              101 W. Broadway, Suite 1200
                                                                            3 San Diego, California 92101
                                                                              Telephone: (619) 744-7300
                                                                            4 Facsimile: (619) 230-0987
                                                                              E-Mail: jlamagna@health-law.com
                                                                            5         jkearney@health-law.com
                                                                            6 DEVIN M. SENELICK (State Bar No. 221478)
                                                                              TARYN A. REID (State Bar No. 328772)
                                                                            7 HOOPER, LUNDY & BOOKMAN, P.C.
                                                                              1875 Century Park East, Suite 1600
                                                                            8 Los Angeles, California 90067
                                                                              Telephone: (310) 551-8111
                                                                            9 Facsimile: (310) 551-8181
                                                                              E-Mail: dsenelick@health-law.com
                                                                           10         treid@health-law.com
                                                                           11 Attorneys for Plaintiff
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12 MIKIA WALLIS
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                              P.O. BOX 2023
                                                                           13 Julian, CA 92036
                                                                              Telephone: (760) 239-1619
                                                                           14 E-Mail: mikiawallis@yahoo.com
                                                                           15 Defendant In Pro Per
                                                                           16                        UNITED STATES DISTRICT COURT
                                                                           17                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                           18 BORREGO COMMUNITY HEALTH                      Case No. 3:22-cv-01056-AJB-AGS
                                                                              FOUNDATION, a California nonprofit
                                                                           19 public benefit corporation,                   Hon. Anthony J. Battaglia
                                                                           20               Plaintiff,
                                                                                                                            JOINT MOTION TO EXTEND
                                                                           21        vs.                                    TIME TO FILE RESPONSE TO
                                                                                                                            COMPLAINT
                                                                           22 KAREN HEBETS, an individual;
                                                                              MIKIA WALLIS, an individual;                  Complaint Served: 8/1/22
                                                                           23 DIANA THOMPSON, f/k/a DIANA                   Complaint Response Due: 8/21/22
                                                                              TRONCOSO, an individual;                      First Extended Response Date: 9/19/22
                                                                           24 HARRY ILSLEY, an individual;
                                                                                                                            Proposed Second Extended Response
                                                                           25 DENNIS   NOURSE, an individual;
                                                                              MIKE HICKOK, an individual;                   date: 10/3/22
                                                                           26 CHUCK KIMBALL, an individual;                 Trial Date:         None Set
                                                                              PREMIER HEALTHCARE
                                                                           27 MANAGEMENT, INC., a California
                                                                              Corporation; SUMMIT
                                                                           28 HEALTHCARE MANAGEMENT,
                                                                                                                                            Case No. 3:22-cv-01056-AJB-AGS
7257464.1                                                                                    JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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                                                                            1 INC., a California Corporation;
                                                                              DARYL PRIEST, an individual;
                                                                            2 NICHOLAS PRIEST, an individual;
                                                                              TRAVIS LYON, an individual;
                                                                            3 HUSAM E. ALDAIRI, D.D.S., an
                                                                              individual; ALDAIRI DDS, INC., a
                                                                            4 California corporation; AYED
                                                                            5 HAWATMEH, D.D.S., an individual;
                                                                              HAWATMEH DENTAL GROUP,
                                                                            6 P.C., a California Corporation;
                                                                              ALBORZ MEHDIZADEH, D.D.S., an
                                                                            7 individual; ALBORZ MEHDIZADEH,
                                                                              INC., a California Corporation;
                                                                            8 JILBERT BAKRAMIAN, D.D.S., an
                                                                              individual; MOHAMMED
                                                                            9 ALTEKREETI, D.D.S., an individual;
                                                                              MAGALY VELASQUEZ, D.D.S., an
                                                                           10 individual; MAGALY M.
                                                                           11 VELASQUEZ       DDS PROFESSIONAL
HOOPER, LUNDY & BOOKMAN, P.C.




                                                                              DENTAL CORP., a California
                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12 Corporation; ARAM ARAKELYAN,
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                              D.D.S., an individual; NEW
                                                                           13 MILLENNIUM DENTAL GROUP OF
                                                                              ARAM ARAKELYAN, INC., a
                                                                           14 California Corporation; MICHAEL
                                                                              HOANG, D.M.D., an individual;
                                                                           15 WALEED STEPHAN, D.D.S., an
                                                                              individual; W.A. STEPHAN, A
                                                                           16 DENTAL CORPORATION,
                                                                              a California Corporation; SANTIAGO
                                                                           17 ROJO, D.D.S., an individual;
                                                                              SANTIAGO A. ROJO, D.D.S., INC., a
                                                                           18 California Corporation; MARCELO
                                                                              TOLEDO, D.D.S., an individual;
                                                                           19 MARCELO TOLEDO, D.D.S., INC., a
                                                                              California corporation; MARLENE
                                                                           20 THOMPSON, D.D.S., an individual;
                                                                              MARLENE THOMPSON, D.D.S.,
                                                                           21 INC., a California Corporation;
                                                                              DOUGLAS NESS, D.D.S., an
                                                                           22 individual; NESS DENTAL
                                                                              CORPORATION, a California
                                                                           23 Corporation; GEORGE JARED,
                                                                              D.D.S., an individual; GEORGE
                                                                           24 JARED, D.D.S., INC., a California
                                                                              corporation; JAMES HEBETS, an
                                                                           25 individual; THE HEBETS COMPANY,
                                                                              a Missouri Corporation; and DOES 1-
                                                                           26 250, inclusive,
                                                                           27              Defendants.
                                                                           28

                                                                                                                        2                  Case No. 3:22-cv-01056-AJB-AGS
7257464.1                                                                                   JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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                                                                            1         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Rules
                                                                            2 7.2 and 12.1, Plaintiff Borrego Community Health Foundation (“Plaintiff”) and
                                                                            3 Defendant Mikia Wallis (Plaintiff and Defendant collectively, the “Parties”), by and
                                                                            4 through their respective counsel, hereby stipulate to and jointly move the Court for
                                                                            5 an extension of time within which Defendant may answer or otherwise respond to
                                                                            6 the Complaint in this matter, up to and including September 19, 2022.
                                                                            7         Good cause exists to warrant an extension of time for Defendants to file an
                                                                            8 answer or otherwise respond to the Complaint for the following reasons:
                                                                            9         WHEREAS, Defendant Mikia Wallis was served with the Summons and
                                                                           10 Complaint on August 1, 2022;
                                                                           11         WHEREAS, Plaintiff and Defendant Mikia Wallis previously requested the
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                                                                           12 Court grant a joint motion and issue an order extending the deadline for filing an
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                                   SAN DIEGO, CALIFORNIA 92101




                                                                           13 answer, motion or other response to September 19, 2022;
                                                                           14         WHEREAS, due to difficulty securing legal representation and personal
                                                                           15 illness, the Defendant has requested and Plaintiff has consented to additional time for
                                                                           16 the Defendant to file an answer, motion, or other response to the Complaint;
                                                                           17         WHEREAS, extending the deadline will allow the Defendant additional time
                                                                           18 to evaluate the allegations in the Complaint which includes 762 paragraphs, spans
                                                                           19 154 pages, and attaches 546 pages of exhibits, and to explore securing competent
                                                                           20 counsel;
                                                                           21         WHEREAS, there are over 40 defendants in the above-captioned action and
                                                                           22 Plaintiff seeks to stagger the responsive pleading deadlines to allow for meaningful
                                                                           23 briefing should it be necessary; and
                                                                           24         WHEREAS, extending the deadline to respond is in the best interests of the
                                                                           25 Parties, judicial economy and justice.
                                                                           26         The Parties hereby respectfully request that the Court grant this Joint Motion
                                                                           27 and issue an Order extending the deadline for Defendants to file a response to the
                                                                           28 Complaint to October 3, 2022.

                                                                                                                          3                  Case No. 3:22-cv-01056-AJB-AGS
7257464.1                                                                                     JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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                                                                            1 IT IS SO STIPULATED.
                                                                            2
                                                                            3 DATED: September 16, 2022            HOOPER, LUNDY & BOOKMAN, P.C.
                                                                            4
                                                                            5
                                                                                                                   By:
                                                                            6
                                                                                                                               DEVIN M. SENELICK
                                                                            7                                      Attorneys for Plaintiff Borrego Community
                                                                            8                                      Health Foundation

                                                                            9
                                                                                DATED: September 16 , 2022
                                                                           10
                                                                           11
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                                                                           12
                                   101 W. BROADWAY, SUITE 1200
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                                                                                                                    By:
                                                                           13                                                      MIKIA WALLIS
                                                                                                                    Defendant In Pro Per
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                                                                           15
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                                                                                                                        4                  Case No. 3:22-cv-01056-AJB-AGS
7257464.1                                                                                   JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
